Case 2:20-cr-00017-JAM Document 1 Filed 01/22/20 Page 1 of 11




                                          2:20-cr-0017 KJM
Case 2:20-cr-00017-JAM Document 1 Filed 01/22/20 Page 2 of 11
Case 2:20-cr-00017-JAM Document 1 Filed 01/22/20 Page 3 of 11
Case 2:20-cr-00017-JAM Document 1 Filed 01/22/20 Page 4 of 11
Case 2:20-cr-00017-JAM Document 1 Filed 01/22/20 Page 5 of 11
Case 2:20-cr-00017-JAM Document 1 Filed 01/22/20 Page 6 of 11
Case 2:20-cr-00017-JAM Document 1 Filed 01/22/20 Page 7 of 11
Case 2:20-cr-00017-JAM Document 1 Filed 01/22/20 Page 8 of 11
Case 2:20-cr-00017-JAM Document 1 Filed 01/22/20 Page 9 of 11
Case 2:20-cr-00017-JAM Document 1 Filed 01/22/20 Page 10 of 11
Case 2:20-cr-00017-JAM Document 1 Filed 01/22/20 Page 11 of 11
